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THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF WEST VIRGINIA

WHEELING DIVISION
PANHANDLE CLEANING &
RESTORATION, INC.
Plaintiff,
v. Civil Action No. 5:19-CV-228
(BAILEY)

FRONTIER INDUSTRIAL CORP., et al.
Defendants.
CERTIFICATE OF SERVICE
[, Kevin M. Pearl, certify that on August o3 2021, I filed a true and correct copy of
the foregoing Defendant's Initial Discovery Disclosures Pursuant To Rule 26 of the Federal
Rules of Civil Procedure via the Court’s CM/ECF system and served a true and correct copy

upon the following via electronic mail:

Joseph Blalock, Esg. (WV#1 2090)
44 [5th Street, Suite 2
Wheeling, WV 26003

Email: jblalock @beneschlaw.com

Counsel for Plaintiff

By: _/s/ Kevin M. Pearl
Kevin M. Pearl, Esq. (#8840)
FRANKOVITCH, ANETAKIS,
SIMON, DECAPIO & PEARL, LLP
337 Penco Road
Weirton, WV 26062
kevin @ faslaw.com
Phone: (304) 723-4400
Fax: (304) 723-5892
Counsel for Defendant
